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Crafted With Care: ’01, ‘04
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Spray the Champagne: 2007
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TOUGH OLD BIRDS like Herb Fanning here                                         A TENNESSEE BARRELMAN like Richard
are why you'll condnue m find Jack Daniel's                                    McGee gets more done before coffee than most
                                                                               folks do in a day.                                      FRANK BOBO,        YOUNG MANON
so smooth.                                                                                                                             THE LEFT, is firsc Jack Daniel stiller
Mr. Fanning has held every job in our Hollow.                                  Mr. McGee will rise ahead of cbe sun. T hen, in         who's no kin ro a
So he knows his whiskey inside our. And though                                 the cool ofTennessee's moming, roll hundreds of
                                                                               newly-filled barrels inco aging houses                  Lem Tolley (the        man) learned co still
he's long retired d1cse days, we                                                                                                       whiskey from his        Lem Modow, who
                                                                               sec deep in the hills. (Our whiskey will
occasionally bring him back ro check                                                                                                   learned all he kne from his uncle, Jack Daniel.
                                                                               sleep our here until it's ready for you).
on things. You sec, we know rhere's a                                                                                                  And Mr. Tolley, ho's recircd now,
                                                                               Wbar accounts for the rareness you
certain rareness rou've come ro expect                                         find in Jack Daniel's? Pardy, chis old                  handed down all       knowledge co
in Jack Daniel's. We can't ever risk                                           Te.nnessee process. And, partly,                                            folks say Frank
changing dm. And wim prideful                                                  old Tennessee barrelmen like                                                  well he even
watchdogs like Herb on the scene,                                              Richard McGee.
we don't think we ever will.
                                                                                   SMOOTH SIPPIN'
    SMOOTH SIPPIN'                                                               TENNESSEE WHISKEY
  TENNESSEE WHISKEY                                                              ~-\foJon•to.AK -t~Uhdlf~{N... p.tl•~.t.Jiti!N~'f
                                                                                ttd.~f~ldl~~. t...cti.~'V~ltll.Ae~tHi'.J
                                                                                r.m.., ='t.~R~rtlll~fl"..:~tn.,~ll.tHSutntMtfw•.,"'·
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AGING A BATCH of jack Daniel's calls for                                           IN LYNCHBURG, TENNESSEE, good
years of time and no small amoum of footwork.                                      things come w those who wair.
There are thousands of charred oak barrels in a                                    Here in the home ofJack Daniel's, our
                                                                                   whiskey must spend years in che wood to
ren-scory warehouse. Full up, each band is roo
                                                                                   gain rhe oldtime rareness you expecL So
heavy co life. So ro gee rhe whiskey properly
                                                                                   you'll never see us nudge a barrel
mawring, our barrdmen need to kick
                                                                                   before the whiskey's primed (nor
them into place. lf you ever tried                                                 leave a fishing hole before we should).
co boor a 400 pound barrel, you'd                                                  If you've ever hooked a grand fish,
know what these gemle.men                                                          you already know patience has one
are up against. But afrer a sip of                                                 reward. And if you've ever sipped
properly aged Jack Daniel's, you'll                                                Jack Daniel's, you know ic bas
be glad they're so fancy with                                                      at least one more.
their feer.
                                                                                        SMOOTH SIPPIN '
    SMOOTH SIPPIN '                                                                   TENNESSEE WHISKEY
  TE NNE SSEE WHI S K EY                                                                ;~tl«~ · 04.-l\K~t<,~u:GMt~~~'l ·Cl-~t:t4~b
                                                                                     .:.o.o,..lk~~. t.re.a.tQ»"'-fS::.. bul,ttllf(N'r~.Kltr~... l'lit
                                                                                      fu'dM~N.:n.-/~;4J~ "~rt t,W ~~C..~
 kJr.u~ 'Mi nl!r·lO-~ f•»t•01$t.l{lf\l Jlld &.'1.tk!! "i J.t.ci 01:11/d lh1h~trr
   tt~ 'h!b... !'toc:ntl«. i"~t l, l)arJ~r& Vo;~ 361). ~w 313g




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                                                                                        THE LABEL on a boccie ofJack
ONE OF OUR FAVORITE SITTING PLACES is under the sign                                    is for folks who aren't roo impressdd
Jack Daniel and Lern Moclow pur up over a cenrury ago.                                  Our label has always lacked color;
Jack Daniel sect:led on mis very spot in 1866, for here's                               Jack Daniel sold whiskey in the
where he found iron&ee water perfea for his needs. The                                  You see, our fi.)under said what
spring still flows at our distillery today, nor cen yards                               boccie was more importam cl1an
from where cl1ese gentlemen are charting. And we. still                                 wem on ic. And we still say that
make whiskey me way Jack and Lem once made ic,                                          our Tennessee distillery today. If
charcoal mellowed drop by drop. Keeping              sign                      mcir     interest lies in a truly smoocl1
in place keeps us faichful tO                    mcir
                                     old memods. A                                      whiskey, we recommend Jack
sip, we believe, will keep you fairhful (Q mem coo.                                     Buc if you like color.fullabels, \.vel!,
        SMOOTH SIPPIN '                                                                 there's no shonage of brands co
      TENNESSEE WH I SKEY                                                               pick &om.
      I<_,.. ~111>1<1 • COAl\ oJcohOI 1>1 "'"""' (10-3& p~ • Oi\tolltd •><~ Sonkd 1>1       SMOOTH
    llrl o..~, O...'""'t.m_r,...;,to<IM<I. lrnc~""'tl?t~>l"J, lea"""" JllS2
                                                                                          TENNESSEE




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JACK DANIEL'S COUNTRY is known
for old roads, old barns and oiJ whiskey-
                                                                                        l pl.. ~ j ....,....,.,..<» " ~ "" w ttf .s ~l.
making ways.
                                                                                        IN THE SMALL TOWN of Lynchburg, Tennessee, nothing seems
Our old discillery was founded amongst                                                  co change but the seasons.
chese Tennessee hills and hollows way back
in 1866. And, as the years have rolled along,                                           Folks spend easy Oaober evenings on the porch like they
                                                                                        always have. The conversation is much like it's always
we've never had reason co dcparc. You
                                                                                        been. And over in Jack Daniel's Hollow, we still make
see. there's something about being our
                                                                                        our Tennessee Whiskey in the very manner our founder
here rim's just plain good for a man.                                                   perfected- the way our friends have always liked
And, once you've. had your firsr s1p of                                                 it. A sip, we believe, and you'll be glad me only thing
Jack Daniel's, we think you 'll agree                                                   changing here. is the color of the trees.
it's equally good for a whiskey.
                                                                                                               SMOOTH SIPPIN '
       S MO OTH S IPPIN"                                                                                     TENNESSEE WHISKEY
    T EN NE SSE E WHI S K EY
             o:·r •t j( ,t,.,. h.t•ol(t v )•Je" t'~l1>ttt7!!dlrtl;'•'lllt1,                                   I"-'""' t,;mr · ·~·~ >1«>:1 ,..-,,~s; .,:011 • c;""".,. ~:<:ot<..,
                                                                                                          .kt10nt!Ou~rr. lte!' li£~. f'r~;tt31. Aoc:U !, l)-:1(~1 ~ !6U.lt."#1H~ 3 H~?
 ~l<~W'T ~0!1 • ~. ... ~te;I~"'•VI($4if~ei:"• Qj!-"":'.,'I!CI!Wb'~lo' l t<t-.;!tHft"t                           r&MtJ :,.'IN: :-.·u;..~J ~&Kkt a1 Hctut..' r'.sott h.:~ l'11:tN 1l<ltn G~t'T'I • n.l
  tt:t-~... ~~..o.llot'ko6tl h~•"'t ""'- "Ut'no• (.,-o ).tf\C: •-• iool(llln"'~"IIU
   n.,.J., •"" ·'..:c.diWoW~~~liJ....,Q. I\. I•'" ~l·d..J~• -""''"'""' '




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l.~ ~web~~~ IIIIOtWoMJf.                lilt"* row1C)GM soot.
IN LYNCHBURG, TENNESSEE you can
still buy a 10¢ Coke~ But not a dime's worth                                     IN LYNCHBURG, TENNESSEE, aunutsL
of Jack Daniel's.                                                                everybody reads the Moore County
Our county was voted dry in 1909. Though we                                      Ic only takes about five minutes co keep
began making Tennessee Whiskey here in 1866,                                     with goings~on in Moore County. There
you have to buy it elsewhere. If you're ever in                                  might even be an occasional piece on
Lynchburg and in need of refreshment,                                            Jack Daniel Distillery, buc it's not likely.
we'll recommend a short walk co the                                              You see, here in our Hollow we've
Coke machine at the hardware score.                                              been charcoal mellowing our whiskey,
But if you're looking for the kind of                                            drop by drop, since Mr. Jack's day.
refreshment Jack Daniel's provides,                                              And according to the folks who
the trip to the next county isn't                                                print the paper, chac scopped being
far. Eleven miles, t:hree blocks                                                 news 129 years ago.
and five steps, to be exaa.
    SMOOTH SIPPIN '                                                                  SMOOTH SIPP!N'
  TENNESSEE WHISKEY
                                                                                   TENNESSEE WHISKEY
   r~ "-•nk'r.      u..cn. tfCOMI.,. ~cso.u crool) • t·~·M1tl ~~~ eoa.ltd _,,
 be~ Qwlllfl Obht!rtt. 1M- Mol~ ""~""'~ b 11t1 Lh~Utn (N 3'U, fMtlt\.Sft 3J!S1      I~SH 'II.'"',ht• <tG-C3!t ~clw'Jt,'ld.r::fl&$l6(:1oc...'J • ~~~-~by
  P~UttMNdiN,..JRq:iJJtn/IIISWi£P~Qu$*7fNUmlt4SialrJ~,..,g                        ~\ OM!itf~. t.etnfd«b,. ~W.JQ&t 1 , i.¢~el:loW(CCfwlbU 1t.wt~3J'JS2
                                                                                   l'l>.WiAw:o.•.,....,I<J~u{ IJl<.....-tt..-.s&,wl.,....JS.,...v.."'""""·




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                                                                            lromOAilrienok;

                    IN 1866, Jack Daniel created the world's first
                    Tennessee Sippin' Whiskey.
                    Then something very unusual happened. For
                    over 130 years nobody did anything m change
                    it. Today's Jack ~anid's has the same rare taste
                    as when Mr. Jack first made it. Wbich
                    means it's charcoal mellowed drop by
                 ."•drop and aged in charred oak barrels.
                    That's the way.six generations
                    of drinkers like you have liked it.
                    So, we promise, we're still noc
                    planning any changes.

                       SMOOTH SlPPIN'
                     TENNESSEE WHISKEY
                      r-....  ~,;,o.,.·i(>.O:rtllcdd~~t....,.m<m.....o · o;..,... ... -.111
                   J~Dl!lktDia1ikfy,ltm~.l'w.ridcw.PAu l.l~tf'eo361L itll'tt1.ttt l1lS1
                     Pw..linlli<N.......J~ c{llo-Pbmb,U..Lw..IS-~




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 oi'TI"·~ot.\-' lto "'~.._......,fi'O ......... _   _ . . . _ ...~- ·.~


MR. JACK DANIEL WAS NO SAINT.
BUT HE DID START SOMETHING OF A RELIGION.
Ourdftnl"rl:~iJIU: .~1"~"1 t••ll'lo.' b, U'd if)'" L.nnw ~1-.nr' ~~,tu.>l:, l'ollfn~,·/
tl·.,-n ' "' l'n:fTV c.u.y fo.t ~"· \.Vc think. Mr. Jn~ ~·uuU ~g~-;ni(tnf ;••l:m"""
hoT<tllln,'o(T'I('PIII• \\ohr.J.ey !0 1t1 .el l t'3o!t.'%~.aJur.~\ ti•.."'l(('4~ .<\r~~i tltr. tl-.:,
1:11):-,. .., I )~1thl:>u1~ ~\·hv p~ hi') wl:•>kt')' l•ll..b.y_. M\' <~y p.l-.~IIWW('
; 1,.1tll tu.d:m~ 1.1 1\e. ui:Jumc Wl.)'

                                                                                                        THERE'S A LITTLE BIT OF LYNCHBURG
                                                                                                        INSIDE EVERY BOTTLE OF JACK DANIEL'S.
                                                                                                        \ Vc disriU ~(' whi$t.:\')' U$1l\S , ...·. uct lrnm h'.Jf lt•'<·floi.,••!,S (.tloY srrms. And W'( '
                                                                                                        rndlt.-.w ic tbrc:.Jgh lui\J m.lrJ•· d,_.un.'IIIJUJiJc fi,<O, m·~ th.u j.!Hr•" JO a1Aif~OC<
                                                                                                        :around ICI\"'"· Yu. quit<' .I l1!( !)I"Lrn:MliiiS C"n:h. ur (.I I ("1\.Tj' g.l.t» dJ:.d:. D;tutd's.
                                                                                                        Mono (kolccm.lllg, JMi.(t)o m•~ht .1lv. ntli!(" htt n( l.ynth1xrrg·, '"'Ufld·t:·mliJU'
                                                                                                        S'lttht.ftf h· ~l'll:t !cq• !U ~ hr:-c , hlC: It s (>,lf ~Ut1 msf'l_·dtcm, :anJ nn-: '1Ur f&N'tl
                                                                                                        .tlw.~}'Y hol.' \"" ;r-o~<iy   ,:urrtr
                                                                                                                                                                                                               IN JACK DANIEL'S HOLLOW WE CAN BE SURE OF THE BEST GRAIN OBTAINABLE

                                                                                                                                                                                                               FOR OUR TENNESSEE SIPPIN' WHISKEY.
                                                                                                                                                                                                               li ;;,n~· brr.un huKJghr to usdoo11'r mrc.t our ttuUcr'snnJmJs, ~p1:~11 wnn'r
                                                                                                                                                                                                               l•uy it. !He k"""'' he con W:U( r... ""'""' bwusc (JU( sUUS )'tC)t< <nough ..
                                                                                                                                                                                                               lto!,l hnn .1 \vlu1c.l :\ntl tfh(' hL'\ w •·urn dawn., INt.!. uw sup~ins l:naw h<'S
                                                                                                                                                                                                               nor ;.rst bt.' ing ..X't\Cf)'. Yuu sec. they rc..Jizc if'''<didnl run   "ill' Amuicls




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WITH SO MANY WHISKEYS TO CHOOSE FROM, WHY 00 SO MANY
DRINKERS CHOOSE JACK DANIEL'S?
It's h;ud to ~ril~ I he taSte     or Ja'"k D:uud')., lr's ~:acr tO expcncno- It firSt
JunJ. /\nd, u~ d:ws, )lriU Cln do that in jtL'-t ~bOUt "'\lOY i-ur and litaut)r )it O«
from ~1 :unc m Ulifonu..1. Is Jack D:~n icl '.s AmcncJ.'s snl oothc);t "'his-key~
W ell, r es. wt~ bc.lie\.\: ir i.,. And wt: bcllt\T, )'OU'U undt:rSt:lnd ir.s prtpubriq·




                                                                                           IN AN Ot,.D rEHrtE'SSU 8.A.RRtLJt0U$£ l HERE SUS A W£AfK£R£D VIHISKE't IS.t.RRO..

                                                                                           THIS IS WHERE THE MAGIC HAPPENS.
                                                                                           Oox \'11ml:n ,,_.,.•._.I!Ut~JI.tdvotti rol. ll u,e..nr,;h.!rc:.IU¥' ' 'nhhtt'i•l"".-..(.lfolll:
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                                                                    EVEN THE JOB OF MASTER TASTER
lfS AN HONOR, AND APRIVIlEGE.
ANO ALIVING.                                                        HAS ITS DRAWBACKS.
So o:easured is the ride of Jack Daniel's Master Distiller          Ifthe title ofJack Daniel's Master Taster sounds a bit too good
that only seven men have ever held il:, scatting with Mr. Jack:     to be true, it's probably because it is. Just ask Jeff Norman.
himself back in 1866. But while che turnover rare may be low,       Sure he gets paid to 'taste' whiskey most everyday, but in order
the srandards couldn't be higher. And lOr Jeff Arnett, the latest   to keep his senses keen and pallet true, he isn't permitted
member of this exclusive 6:arerniry, carrying on Jack's
                                                                    to swallow any of it. Of course, as Jeff will tell you, when
tradition of quality an:! excellence isn't just a poinr of
personal pride, it's all in a day's work.                           it comes to the last sample ofthe day, all bets are off.




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                      POST A TOAST AT VACKlNDEPE:NDENCE.OOM          JDPI004457
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